                        UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF WISCONSIN


  JESSE CLUBB,

                Plaintiff,                              Case No.: 20-CV-01683-WCG

        v.

 MARINETTE COUNTY, SHERIFF JERRY
 SAUVE, JOHN DOES 1-10, ADVANCED
 CORRECTIONAL HEALTHCARE, INC., BRIAN
 WRUK, ASHLEY ELAND, DOCTORS 1-10,
 NURSES 1-10, WISCONSIN COUNTY MUTUAL
 INSURANCE COMPANY, ARAMARK
 SERVICES, INC., ABC INSURANCE COMPANY,
 DEF INSURANCE COMPANY, GHI INSURANCE
 COMPANY, and JKL INSURANCE COMPANY,

               Defendants.


     PLAINTIFF’S RESPONSE TO DEFENDANT ADVANCED CORRECTIONAL
              HEALTHCRE, INC.’S PARTIAL MOTION TO DISMISS
                COUNTS 1 AND 4 OF PLAINTIFF’S COMPLAINT


      Plaintiff Jesse Clubb, by his counsel, Cade Law Group LLC, hereby stipulates to

the dismissal, without prejudice, of Count 1 of Plaintiff’s Complaint against Defendant

Advanced Correctional Healthcare, Inc. Plaintiff hereby consents to the dismissal, with

prejudice, of Count 4 of Plaintiff’s Complaint against Advanced.




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Dated this 19th day of January, 2021.   CADE LAW GROUP LLC

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